         Case 1-18-46141-ess          Doc 37       Filed 08/29/19    Entered 08/29/19 14:49:27




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

KELVIN D. PAYTON,                                                   Case No. 18-46141

                                   Debtor.                          Chapter 13

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   NOTICE OF VOLUNTARY CONVERSION FROM CHAPTER 13 TO CHAPTER 7

          Kelvin D. Payton (the “Debtor”), the above-captioned Debtor, by and through his counsel

Ortiz & Ortiz LLP, hereby notifies the Court of his intent to convert his Chapter 13 case to a

Chapter 7 case pursuant to 11 U.S.C. § 1307(a).

Dated: Aug. 29, 2019
New York, New York

                                                                    S/Norma E. Ortiz
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